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                                        ORDERED.


     Dated: April 15, 2019




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

IN RE:                                          )
                                                )
Yonne Daughtry-Jones,                           )          CASE NO. 6:18-bk-07850-KSJ
                                                )          CHAPTER 7
         Debtor.                                )
                                                )

                  ORDER AUTHORIZING RETENTION OF
                  BK GLOBAL REAL ESTATE SERVICES
      TO PROCURE CONSENTED PUBLIC SALE PURSUANT TO 11 U.S.C. §327

         THIS CASE came on for consideration without hearing on the Trustee’s Application to

Retain BK Global Real Estate to Procure Consented Public Sale Pursuant to 11 U.S.C. §327 (Doc.

No. 28) filed on April 12, 2019. The Court concludes that BK Global Real Estate Services does

not hold or represent an interest adverse to the estate and is a disinterested person within the

meaning of Section 101(14) of the Bankruptcy Code. The Court further concludes that BK Global

Real Estate Services is qualified to represent the Trustee and that the Court’s authorization of their

employment is in the best interest of the estate. Accordingly, it is
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       ORDERED the Application is granted and the Court approves the retention of BK Global

Real Estate Services to sell real property located at 1606 Crooms Avenue, Orlando, FL 32805. All

compensation authorized is subject to the provisions of Section 330 of the Bankruptcy Code and

any hourly rate is not guaranteed and is subject to review and no payment whatsoever shall be

made to the realtor absent application and order.


Trustee, Richard B. Webber, is directed to serve a copy of this Order on interested parties who
are non-CM/ECF users and file a proof of service within 3 days of entry of the Order.


 




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